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EXHIBIT E

 
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UNSWORN DECLARATION OF MARIE KRUSE

I, Marie Kruse, make this declaration based on my personal knowledge.
If called to testify, my testimony would be consistent with the facts set forth in
this declaration.

1. | I was employed as a Lead Tutor by Regina Caeli, Inc. (“RCA”) in its
hybrid homeschooling program run at Sts. Cyril and Methodius Slovak
Catholic Church (“Detroit Program”).

2. RCA hired me as a tutor of the 2015/2016 school year in the
spring of 2015, when my husband and I decided to enroll seven of our eight
children in the Detroit Program.

3. | RCA charged thousands of dollars per student for tuition but a
family could secure a discount in tuition by working for RCA. Lead Tutors
would get receive a modest cash payment in addition to a discount in tuition.
Assistant tutors and childcare para-professionals did not receive a cash
payment, but received a significant discount on tuition. RCA referred to this
as “work tuition.”

4. In the Detroit Program, students attended RCA’s tutoring on
Mondays and Thursdays. I was required to be on site from 8:00 AM through

4:00 PM and had to be with the students during lunch. When I was not
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tutoring, I was required to work as an assistant tutor or to provide childcare
in the nursery. For the 16 hours per week of work required of me, I was paid
$25 per week.

5. RCA provided me and other employees with a handbook outlining
our obligations. A copy of the handbook is attached as Exhibit A. On page 8
and 9 of the handbook are the expectations for tutors. On pages 11 and 12
are the specific job descriptions for lead tutors, assistant tutors and childcare
providers.

6. If we were late, had to leave early or were absent for any reason
other than illness, RCA fined us. This is set forth in page 14 of the handbook.
These employment policies applied to employees who received “work
tuition.” The time I spent at RCA when I was not acting as a lead tutor were
not “volunteer” hours. I was required to remain on site and provide services
as an assistant tutor or a childcare para-professional. If I did not provide
these services or if I left early, my pay would be docked.

7. Before beginning work at RCA, I was required to attend a three
day training session for a total of 24 hours. I was not paid for this time. Other
RCA employees, including those on “work tuition” were also required to

participate in this unpaid training.
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8. RCA fired me and ordered by children to leave the Detroit
Program on December 15, 2015, in response to my and my husband's efforts
to discuss with other participants in the RCA program, some of the
operational and financial concerns we had after spending several months in
the program. Specifically, on December 13th, 2015, my husband sent an email
to others in the RCA program, highlighting some financial irregularities and
indicating that we may join a lawsuit to address some of these issues. I was
fired less than 48 hours later.

Further, the affiant sayeth not.

I declare under penalty of perjury that the forging is true and correct.

Signed on this 9th day of May, 2016.

tb. aver

Marie Kruse

 

 
